                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA


THOMAS M. JAMES,                                  )
                                                  )
                            Plaintiff,            )
       vs.                                        )      1:09-cv-1204-WTL-TAB
                                                  )
GEO GROUP, INC., et al.,                          )
                                                  )
                            Defendants.           )




                                         ENTRY

        Plaintiff Thomas James’ complaint was found to have violated the joinder of claims
limitation of the Federal Rules of Civil Procedure. In George v. Smith, 507 F.3d 605 (7th
Cir. 2007), the Court of Appeals explained that such a nonconforming complaint must be
“rejected.” “Unrelated claims against different defendants belong in different suits.” Id. at
607. Accordingly, George’s complaint was “rejected” and he was given a period of time in
which “to file an amended complaint which does not violate Rule 18.” Although the deadline
for James to have done so has passed without an amended complaint having been filed,
he received and has responded to the court’s Entry.

     The plaintiff’s motion to amend/correct (dkt 9) and the plaintiff’s motion for leave to
amend (dkt 8) are each granted in part and denied in part, consistent with the following:

      1.     The plaintiff shall have through January 13, 2010, in which to file an amended
complaint as previously directed.

       2.     The plaintiff’s request for relief from the strictures of Rule 18 is denied.

       3.    The plaintiff’s request to reconsider any feature of the Entry of November 23,
2009, is denied.

       4.     All other relief which can be understood as sought in such motions is denied.

       IT IS SO ORDERED.


                                           _______________________________
                                            Hon. William T. Lawrence, Judge
Date: 12/28/2009                            United States District Court
                                            Southern District of Indiana
Distribution:

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